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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CAPITOL RECORDS, LLC, et al.,                     Case No. 09 Civ. 10101 (RA)

                       Plaintiffs,

               v.

VIMEO, LLC d/b/a VIMEO.COM, et al.,

                       Defendants.

EMI BLACKWOOD MUSIC, INC., et al.,                Case No. 09 Civ. 10105 (RA)

                       Plaintiffs,

               v.                                 FINAL JUDGMENT

VIMEO, LLC d/b/a VIMEO.COM, et al.,

                       Defendants.



       Defendants in the above-captioned consolidated actions having moved for summary

judgment that they qualify for the safe-harbor limitations on liability of the Digital Millennium

Copyright Act, 17 U.S.C. § 512 et seq., as against all of Plaintiffs’ direct and secondary federal

and common law copyright infringement claims and unfair competition claims, and such motions

having come before the Honorable Ronnie Abrams, United States District Judge, and the Court

thereafter having rendered a Memorandum and Opinion dated September 18, 2013, an Opinion

and Order dated December 31, 2013, an Opinion and Order dated March 31, 2018, and an

Opinion and Order dated May 28, 2021 granting Defendants’ motions for summary judgment on

all claims except for 26 videos-in-suit (encompassing the 27 alleged infringements listed in

Exhibit A and incorporated herein by reference) (the “Remaining Claims”); and




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        The parties having stipulated, and the Court having so ordered on August 26, 2021, that:

(i) Plaintiffs’ claims for relief in this litigation on all of the asserted videos-in-suit except for the

Remaining Claims are disposed of by the September 18, 2013, December 31, 2013, March 31,

2018, and May 28, 2021 orders of this Court; (ii) the Remaining Claims will be voluntarily

dismissed without prejudice, pursuant to Fed. R. Civ. P. 41(a)(2) and the terms and conditions set

forth in the parties’ Stipulation and Order that was so ordered on August 26, 2021, including that

one or more of the Remaining Claims may be refiled only if Plaintiffs prevail on any of the other

claims on appeal of this Judgment such that the Court’s prior disposition of any of those claims

is vacated or reversed; and (iii) there are no claims for relief that remain to be adjudicated; now,

therefore,

        IT IS ORDERED, ADJUDGED AND DECREED that: (i) for the reasons set forth in

the Court’s Memorandum and Opinion dated September 18, 2013, Opinion and Order dated

December 31, 2013, Opinion and Order dated March 31, 2018, and Opinion and Order dated

May 28, 2021, and pursuant to the Stipulation and Order that was so ordered by the Court on

August 26, 2021, judgment is hereby entered for Defendants, and against Plaintiffs, dismissing

all of Plaintiffs’ claims with prejudice (except for the Remaining Claims listed in Exhibit A) in

both of the above-captioned actions and; (ii) pursuant to the terms and conditions of the

Stipulation and Order that was ordered by the Court on August 26, 2021, the Remaining Claims

listed in Exhibit A are dismissed without prejudice. The time to submit a bill of costs and to file

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             a motion for attorneys’ fees is extended until thirty (30) days after the issuance of the mandate

             with respect to any appeal from this Judgment.




             SO ORDERED.

               Dated: November 1, 2021
                   New York, New York

                                                            Hon. Ronnie Abrams, U.S. District Judge




             Entered: ___________, 2021
                    New York, New York                             Clerk of Court



                                                      By:
                                                                   Deputy Clerk of Court




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                      EXHIBIT A




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                                                                   EXHIBIT A

   MSJ
            Vimeo ID       Schedule                       Artist                          Track                        Vimeo URL
Video No.
                        Capitol Sched. A
    4       239389          (original)       Blondie                      Call Me                         http://vimeo.com/239389
                        Capitol Sched. A
    7       1222894         (original)       Blur                         We've Got A File On You         http://vimeo.com/1222894
                        Capitol Sched. A                                                                  http://vimeo.com/channels/juliavids/pa
   10       187587          (original)       Doves                        Words                           ge:2
                        Capitol Sched. A                                                                  http://vimeo.com/channels/juliavids/pa
   12       198058          (original)       Gorillaz                     19-2000                         ge:2
                        Capitol Sched. A
   14       658399          (original)       Lily Allen                   Everything's Just Wonderful     http://vimeo.com/channels/4882
                        Capitol Sched. A
   15       1252305         (original)       Radiohead                    Everything In Its Right Place   http://vimeo.com/1252305
                        Capitol Sched. B
   20       1334655    (original) [pre-72]   Beatles                      Baby You're a Rich Man          http://vimeo.com/1334655
                        Capitol Sched. B
   21       202585     (original) [pre-72]   Beatles                      Don't Let Me Down               http://vimeo.com/202585
                        Capitol Sched. B
   23       192834     (original) [pre-72]   Beatles                      Octopus's Garden                http://vimeo.com/192834
                       EMI Pub Sched. A
   33       214019          (original)       Jackson 5                    I Want You Back                 http://vimeo.com/214019
                        Capitol Sched. A
   35       3212317       (Amended)          Bird and the Bee             My Love                         http://vimeo.com/3212317
                       EMI Pub Sched. A
   35       3212317         (original)       Bird And The Bee             My Love                         http://vimeo.com/3212317
                       EMI Pub Sched. A
   37       130432          (original)       Natasha Bedingfield          Unwritten                       http://vimeo.com/130432
                        Capitol Sched. A
   58       14617437      (Amended)          Beastie Boys                 Hey Ladies                      http://vimeo.com/14617437
                        Capitol Sched. A
   59       14551072      (Amended)          Beastie Boys                 Intergalactic                   http://vimeo.com/14551072
                        Capitol Sched. A
   70       239378        (Amended)          Blondie                      Call Me                         http://vimeo.com/239378
                        Capitol Sched. A
   88       1202119       (Amended)          Coldplay                     Lovers in Japan/Reign of Love   http://vimeo.com/1202119
                        Capitol Sched. A
   95       322309        (Amended)          Daft Punk                    Harder Better Faster Stronger   http://vimeo.com/322309



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                                                                EXHIBIT A

   MSJ
            Vimeo ID       Schedule                    Artist                       Track                 Vimeo URL
Video No.
                         Capitol Sched. A
  111       8482051        (Amended)        Fatboy Slim                Weapon Of Choice       http://vimeo.com/8482051
                         Capitol Sched. A
  129       8940040        (Amended)        Iggy Pop                   China Girl             http://vimeo.com/8940040
                         Capitol Sched. A
  204       302220         (Amended)        We Are Scientists          Worth the Wait         http://vimeo.com/302220
                         Capitol Sched. B
  215       207723     (Amended) [pre-72]   Beatles                    Back in the U.S.S.R.   http://vimeo.com/207723
                         Capitol Sched. B
  229       5908057    (Amended) [pre-72]   David Bowie                Rock 'N Roll Suicide   http://vimeo.com/5908057
                        EMI Pub Sched. A
  236       150310         (Amended)        Outkast                    B.O.B.                 http://vimeo.com/150310
                        EMI Pub Sched. A
  238       191603         (Amended)        Flaming Lips               Do You Realize?        http://vimeo.com/191603
                        EMI Pub Sched. A    Presidents of the United
  245       233299         (Amended)        States of America          Lump                   http://vimeo.com/233299
                        EMI Pub Sched. A
  249       222079         (Amended)        Twista                     Overnight Celebrity    http://vimeo.com/222079




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